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10/4/21, 12:07 PM Dame Michael and Tim Mekosh

Chuck Home

Fuck never mind | thought we had a list saying he owned bestdaytrader

Apr 28, 2020, 1:22 PM

Chuck Bradley

Any lie , and history discredits
Apr 28, 2020, 1:08 PM

Chuck Bradley

Yes
Apr 28, 2020, 1:07 PM

Dame Michael

Foreclosure last year, helping to prove he is hurting for $

Apr 28, 2020, 12:54 PM
Tim Mekosh
You can look at ali his browsed county public records that's why it's public record

Apr 28, 2020, 12:53 PM

Dame Michael

Shows history of lying to cover misdeeds?

Apr 28, 2020, 12:41 PM

Dame Michael

Shay lying about not owning a previous company that is registered under his name helpful?

Apr 28, 2020, 12:40 PM

Dame Michael

Opinion privilege is a legal thing,

Apr 28, 2020, 12:35 PM .

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